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               Exhibit 1
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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

             Plaintiffs/Counter-Defendants,

      v.
                                                  Civil Action No. 1:21-cv-00040 (CJN)
SIDNEY POWELL, et al.,

             Defendants/Counter-Plaintiffs.




US DOMINION, INC., et al.,
             Plaintiffs,

      v.
                                                  Civil Action No. 1:21-cv-00213 (CJN)
RUDOLPH W. GIULIANI,
            Defendant.




US DOMINION, INC., et al.,
           Plaintiffs/Counter-Defendants,
      v.

MY PILLOW, INC., et al.,                          Civil Action No. 1:21-cv-00445 (CJN)
           Defendants/ Counter- and Third-
           Party Plaintiffs,
      v.

SMARTMATIC USA CORP., et al.,
           Third-Party Defendants.




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 US DOMINION, INC., et al.,
           Plaintiffs,

        v.

 PATRICK BYRNE,                                      Civil Action No. 1:21-cv-02131 (CJN)

               Defendant.



 US DOMINION, INC., et al.,
              Plaintiffs/Counter-Defendants,

        v.
                                                     Civil Action No. 1:21-cv-02130 (CJN)
 HERRING NETWORKS, INC. et al.,
              Defendants/ Counter- and
              Third-Party Plaintiffs,
        v.

 AT&T SERVICES, et al.,
           Third-Party Defendants.


         ORDER AND STIPULATION REGARDING PRODUCTION OF
     ELECTRONICALLY STORED INFORMATION AND PAPER DOCUMENTS

       Pursuant to the Federal Rules of Civil Procedure and Local Civil Rule 16.6, Plaintiffs US

Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation

(“Dominion”) and Defendants Sidney Powell, Sidney Powell, P.C., Defending the Republic, Inc.,

Rudolph W. Giuliani, Michael J. Lindell, My Pillow, Inc., Patrick Byrne, Herring Networks, Inc.

d/b/a One America News Network, Charles Herring, Robert Herring, Sr., Chanel Rion, and

Christina Bobb (“Defendants”), whose cases have been consolidated, or who are voluntarily

coordinating, for purposes of discovery, hereby stipulate and agree to be governed by this Order

and Stipulation Regarding Production of Electronically Stored Information and Paper Documents

(“ESI Protocol”).



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I.      GENERAL PROVISIONS

A.      Applicability: This ESI Protocol will govern the production of electronically stored
        information and paper documents.

B.      Limitations & Non-Waiver: Nothing in this ESI Protocol shall be construed to affect the
        authenticity or admissibility of information produced in discovery. All objections to the
        authenticity or admissibility of any documents are preserved and may be asserted at any
        time. Pursuant to the terms of this ESI Protocol, information regarding search process and
        electronically-stored information (“ESI”) practices may be disclosed, but a Party’s
        compliance with this ESI Protocol will not be interpreted to require disclosure of
        information potentially protected by the attorney-client privilege, the work product
        doctrine, or any other applicable privilege or protection from disclosure, including foreign
        data protection laws. All Parties preserve all such privileges and protections, and all
        Parties reserve the right to object to any such privileges and protections.

C.      Deadlines: References to schedules and deadlines in this ESI Protocol shall comply with
        Fed. R. Civ. P. 6 with respect to computing deadlines.

D.      Definitions:

        1.     Plaintiffs and Defendants, as well as their officers, and employees, are referred to
               as the “Parties” solely for the purposes of this ESI Protocol. A single Plaintiff or
               Defendant, as well as, where applicable, its respective officers, and employees,
               may also be referred to as a “Party” solely for the purposes of this ESI Protocol.

        2.     To avoid misunderstandings about terms, all Parties should consult the most
               current edition of The Sedona Conference Glossary.

E.      Confidential Information: For the avoidance of doubt, nothing herein shall contradict
        the Parties’ rights and obligations with respect to any information designated as
        Confidential Discovery Material or Highly Confidential/Attorneys’ Eyes Only material
        under any Protective Order entered in this matter.

F.      Preservation: The Parties agree that they shall continue to take reasonable steps to
        preserve relevant documents and ESI that may exist for a document or ESI, in accordance
        with their obligations under applicable law. By preserving information for the purpose of
        this Action, the Parties are not conceding that such material is discoverable.

II.     GENERAL PRODUCTION FORMAT PROTOCOLS

A.      TIFFs: Except for structured data, all production images will be provided as a black-and-
        white, single-page Group IV TIFF of at least 300 DPI resolution with corresponding

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       multi-page text and necessary load files. Each image will have a file name that is the
       unique “Bates” or document control number of that image, pursuant to ¶ II(F). Original
       document orientation should be maintained to the extent reasonably practicable and
       technologically possible for a producing Party's vendor (i.e., portrait to portrait and
       landscape to landscape). The imaged Data shall retain all attributes of the native or hard-
       copy file, such as document breaks. Produced TIFF images will show all text and images
       that are visible in the form in which the electronic document was last saved, with the
       exception of redacted portions. Documents that are difficult to render in TIFF because of
       technical issues, or any other documents that are impracticable to render in TIFF format
       (e.g., items identified in II(C) below), may be produced in their native format with a
       placeholder TIFF image stating “Document Produced Natively.” A producing Party
       retains the option to produce ESI in alternative formats if so agreed by the requesting
       Party, which may include native format, or a combination of native and TIFF formats.

B.     Text Files: Each ESI item produced under this ESI Protocol shall be accompanied by a
       text file as set out below. All text files shall be provided as a single document level text
       file for each item, not one text file per page. Each text file shall be named to use the Bates
       number of the first page of the corresponding production item.

       1.     OCR: A producing Party may make paper documents available for inspection and
              copying/scanning in accordance with Fed. R. Civ. P. 34 or, additionally or
              alternatively, scan and OCR paper documents. Where OCR is used, the Parties
              will endeavour to generate accurate OCR and will utilize quality OCR processes
              and technology. OCR text files should indicate page breaks where possible. Even
              if OCR is used by a producing Party, however, the Parties acknowledge that, due
              to poor quality of the originals or the existence of handwriting on a document, not
              all documents lend themselves to the generation of accurate OCR. In that case, a
              non-producing party may request that a physical copy of the document be
              provided. If Foreign Language / Unicode text exists, DAT file shall be in
              appropriate UTF-8 or UTF-16 format.

       2.     ESI: Except for redacted documents, emails and other ESI will be accompanied
              by extracted text taken from the electronic file itself, where available. For redacted
              documents, Parties shall provide OCR text in accordance with the specifications
              in Section II.B(l).

C.     Production of Native Items: The Parties agree that ESI shall be produced as TIFF images
       consistent with the format described in Section II(A) with an accompanying load file,
       which will contain, among other data points, the ESI data points listed in Appendix 1
       hereto. The exception to this rule shall be the following:

       1.     Spreadsheet-application files (e.g., MS Excel), personal databases (e.g., MS
              Access), and multimedia audio/visual files such as voice and video recordings
              (e.g., .wav, .mpeg, and .avi), for which all ESI items shall be produced only in
              native format. In the case of personal database (e.g., MS Access) files containing

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              confidential or privileged information, the Parties shall meet and confer to
              determine the appropriate form of production. When producing the above file
              types in native format, the producing Party shall produce a single-page TIFF slip
              sheet indicating that a native item was produced bearing that item's Bates number
              and confidentiality designation. The corresponding load file shall include
              NativeFileLink information for each native file that is produced. Further, the
              Parties agree to meet and confer as needed in connection with producing native
              file types other than spreadsheet application files and multimedia audio/visual file
              types such as .wav, .mpeg and .avi. Prior to processing non-standard native files
              for production, the producing Party shall disclose the file type to and meet and
              confer with the requesting Party on a reasonably useable production format as
              needed. The Parties agree to meet and confer to the extent that there is data in
              database application files, such as SQL, to determine a reasonable form of
              production of usable data.

D.     Requests for Other Native Files: Other than as specifically set forth above, a producing
       Party need not produce documents in native format. If a Party would like a particular
       document produced in native format and this ESI Protocol does not require the production
       of that document in its native format, the Party making such a request shall explain the
       reason for its request that the document be produced in its native format. The requesting
       Party will provide a specific Bates range for documents it wishes to be produced in native
       format. Any native files that are produced should be produced with a link in the
       NativeLink field, along with all extracted text and applicable metadata fields set forth in
       Appendix 1.

E.     Native Integrity and Confidentiality: Through the pendency of the Litigation, the
       producing Party shall exercise reasonable, good faith efforts to maintain all preserved and
       produced native files in a manner that does not materially alter or modify the file or the
       metadata. The requesting Party shall also ensure that the confidentiality assigned to the
       document follows the native pursuant to Section II.K.

F.     Bates or Document Control Numbering:

       1.     All images must be assigned a Bates number that must always: (1) be unique
              across the entire document production; (2) maintain a constant prefix and length
              (ten-digits and 0-padded) across the entire production; (3) contain no special
              characters, or embedded spaces, except for hyphens or underscores; (4) be
              sequential within a given document; and (5) identify the producing Party. To the
              extent reasonably practicable, the Bates number must also maintain consistent
              numbering across a family of documents.

       2.     If a Bates number or set of Bates numbers is intentionally skipped in a production,
              the producing Party will so note in a cover letter or production log accompanying
              the production.




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       3.     The producing Party will take reasonable efforts to brand all TIFF images at a
              location that does not obliterate or obscure any part of the underlying images.

G.     Parent-Child Relationships: Parent-child relationships (the association between an
       attachment and its parent document) that have been maintained in the ordinary course of
       business should be preserved to the extent reasonably practicable. For example, if a Party
       is producing a hard copy printout of an email with its attachments, the attachments should
       be processed in order behind the e-mail to the extent reasonably practicable.

H.     Entire Document Families: Subject to Paragraphs Il(L)(l) and Il(L)(2) below, entire
       Document families must be produced, even if only the parent email or an attachment to
       an email is responsive, except the following:

       1.     junk files and non-user-created content routinely excluded during processing
              (provided such routine processing-generated exclusions are agreed to among the
              Parties);

       2.     documents that are withheld on the basis of privilege and in compliance with the
              Parties' stipulation or the Court's order on or local rules concerning such assertions
              of privilege; and


I.     Load Files: All production items will be provided with a delimited data file or “load file,”
       which will include both an image cross-reference load file (such as an Opticon file) as
       well as a metadata (.dat) file with the metadata fields identified below on the document
       level to the extent available. The load file must reference each TIFF in the corresponding
       production. The total number of documents referenced in a production's data load file
       should match the total number of designated document breaks in the Image Load files in
       the production. The name of the image load file should mirror the name of the delivery
       volume, and should have the appropriate extension (e.g., ABC00l.DAT). The volume
       names should be consecutive (i.e., ABC00I, ABC002, et. seq.). There should be one row
       in the load file per TIFF image. Every image in the delivery volume should be contained
       in the image load file. The image key should be named the same as the Bates number of
       the page. Load files should not span across media (e.g., CDs, DVDs, Hard Drives, Etc.),
       i.e., a separate volume should be created for each piece of media delivered. The data load
       file (i.e., the .DAT file) should use standard Concordance delimiters: Comma - ¶ (ASCII
       20); Quote - p (ASCII 254); and Newline - ® (ASCII I 74). The first record should contain
       the field names in the order of the data. All date fields should be produced in mm/dd/yyyy
       format. Use carriage-return line-feed to indicate the start of the next record. Load files
       should not span across media (e.g., CDs, DVDs, Hard Drives, etc.); a separate volume
       should be created for each piece of media delivered. The name of the data load file should
       mirror the name of the delivery volume, and should have a .DAT extension (i.e.,
       ABC00l.DAT). The volume names should be consecutive to the extent possible (i.e.,
       ABC00I, ABC002, et. seq.). If Foreign Language I Unicode text exists, DAT file shall be
       in appropriate UTF-8 or UTF-16 format. Load files should not be split across volumes


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       regardless of delivery media.

J.     Color: Documents or ESI containing color need not be produced initially in color.
       However, if an original document or ESI item contains color markings and it is necessary
       to see those markings in their original color to understand the meaning or content of the
       document, then the requesting Party may, in good faith, request that the document or ESI
       item be produced in its original colors. For such documents, the requesting Party shall
       provide a list of Bates numbers of the imaged documents sought to be produced in color.
       The production of documents and/or ESI in color shall be made in single-page JPEG
       format (300 DPI). All requirements for productions stated in this ESI Protocol regarding
       productions in TIFF format apply to any productions of documents and/or ESI in color
       made in such an alternative format. Requests that a document be produced in color for the
       reasons set forth in this paragraph will not be unreasonably denied by the producing Party.
       If a producing Party wishes to object, it may do so by responding in writing and setting
       forth its objection(s) to the production of the requested document in color.

K.     Confidentiality Designations: If a particular paper document or ESI item qualifies for
       confidential treatment pursuant to the terms of any Protective Order entered by the Court
       in the Litigation, or a stipulation entered into by the Parties, the designation shall be
       branded on the document’s image at a location that does not obliterate or obscure any part
       of the underlying images to the extent practicable. This designation also should be
       included in the appropriate data field in the load file. For documents produced in native
       format with image placeholders, the placeholder image for the native file should be
       branded with the appropriate confidentiality designation to the extent possible.
       Requesting Parties shall ensure that the confidentiality claim follows the document
       regardless of whether the designation imprints on the file when viewed in printed form.
       Failure to comply with the procedures set forth in this ESI Protocol, any Protective Order
       or confidentiality order, or any confidential stipulation shall not waive any protection or
       confidential treatment. The Parties recognize that document review using technological
       means may result in the application of greater or lesser confidentiality designations than
       otherwise appropriate. The Parties agree to work together on an as-needed (and per
       document or category of document) basis to address any potential over (or under)
       designation.

L.     Redactions:

       1.     Personal Data Redactions: A producing Party may redact personal information
              consistent with the parties’ Stipulation Regarding Discovery Matters or any order
              entered by the Court.

       2.     Privilege Redactions: a producing Party may redact information protected by the
              attorney-client privilege, the work product doctrine, or any other applicable
              privilege, protection, or immunity recognized by U.S. law.

M.     Production Media & Protocol: A producing Party may produce documents via email,

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         readily accessible computer or electronic media, including CD-ROM, DVD, or external
         hard drive (with standard PC compatible interface) (“Production Media”), or via
         file-sharing service, including any network-based secure file transfer mechanism or SFTP.
         Any requesting Party that is unable to resolve any technical issues with the electronic
         production method used for a particular production may request that a producing Party
         provide a copy of that production using Production Media. The producing Party must
         encrypt Production Media, and will provide a decryption key to the requesting Party in a
         communication separate from the production itself.

N.       Foreign Language Documents: To the extent that documents or ESI are produced that
         contain languages other than English, in whole or in part, the producing Party shall
         produce all such documents or ESI in the original language(s), as well as any English
         translations of such documents or ESI and certifications of such translations that are
         readily available and stored by the party in the ordinary course (i.e., that were not created
         specifically by a Party for the Litigation).

III.     PAPER DOCUMENT PRODUCTION PROTOCOLS

A.       Scanning: A producing Party may make paper documents available for inspection and
         copying in accordance with Fed. R. Civ. P. 34 or, additionally or alternatively, OCR paper
         documents. Where OCR is used, the Parties agree that the following ¶¶ III(B)-(C) shall
         apply.

B.       Coding Fields: The following information shall be produced in the load file
         accompanying production of paper documents: (a) BegBates, (b) EndBates, (c)
         BegAttach, (d) EndAttach, (e) Custodian, and (f) Confidentiality.

C.       Unitization of Paper Documents: Paper documents should be logically unitized for
         production to the extent reasonably practicable. Generally, when scanning paper
         documents for production, distinct documents shall not be merged into a single record and
         single documents shall not be split into multiple records. The Parties will make reasonable
         efforts to unitize documents correctly.

         1.     Unitization: Where the documents were organized into groups, such as folders,
                clipped bundles, and binders, this structure shall be maintained and provided in
                the load file to the extent reasonably practicable. The relationship among the
                documents in a folder or other grouping should be reflected in proper coding of
                the beginning and ending document and attachment fields to the extent reasonably
                practicable. The Parties will make their best efforts to unitize documents correctly.
                However, non-responsive documents within a folder, clipped bundle, or binder
                need not be produced.


         2.     Identification: Where a document, or a document group-such as folder, clipped
                bundle, or binder has-an identification spine or other label, the information on the
                label shall be scanned and produced as the first page of the document or grouping.

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D.      Custodian Identification: The Parties will utilize best efforts to ensure that paper records
        for a particular custodian are produced in consecutive Bates stamp order. See ¶ II(F)
        above.

IV.     ESI METADATA FORMAT AND PROCESSING ISSUES


A.      System Files: ESI productions may be de-NISTed using the industry standard list of such
        files maintained in the National Software Reference Library by the National Institute of
        Standards & Technology as it exists at the time of de-NISTing. Other file types may be
        added to the list of excluded files if they clearly do not have user-created content.

B.      Metadata Fields and Processing:

        1.     Time Zone: To the extent reasonably practicable, ESI items shall be processed
               using a consistent time zone, and the time zone (e.g., GMT) used shall be disclosed
               to the requesting Party.

        2.     Auto Date/Time Stamps: To the extent reasonably practicable, ESI items shall
               be processed so as to preserve the date/time shown in the document as it was last
               saved, not the date of collection or processing.

        3.     Except as otherwise set forth in this ESI Protocol, ESI files shall be produced with
               at least each of the data fields set forth in Appendix 1 that can reasonably be
               extracted from a document.

        4.     The Parties are not obligated to manually populate any of the fields in Appendix
               1 if such fields cannot reasonably be extracted from the document using an
               automated process, with the exception of the following fields, which should be
               populated regardless of whether the fields can be populated pursuant to an
               automated process: (a) BegBates, (b) EndBates, (c) BegAttach, (d) EndAttach, (e)
               Custodian, and (f) Confidentiality.

C.      Redaction:
        1.    The Parties agree that generally, where ESI items need to be redacted, they shall
              be produced solely in TIFF format with each redaction clearly indicated, except
              in the case of personal database files (e.g., MS Access), which shall be governed
              by ¶ II(C) above. Any metadata fields reasonably available and unnecessary to
              protect the privilege protected by the redaction shall be provided. The Parties
              understand that for certain MS Excel documents or other file types or files, TIFF
              redactions may be impracticable. These documents may be redacted in native
              format.

        2.     If the items redacted and partially withheld from production on the basis of
               privilege are Excel-type spreadsheets as addressed in ¶ II(C) above and native
               items are also withheld, to the extent reasonably practicable, each entire ESI item

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               must be produced in TIFF format, including all unprivileged pages, hidden fields,
               and other information that does not print when opened as last saved by the
               custodian or end-user.

        3.     If the items redacted and partially withheld from production are audio/visual files,
               the producing Party shall, to the extent reasonably practicable, provide the
               unredacted portions of the content. If the content is a voice recording, the Parties
               shall meet and confer as needed to discuss the appropriate manner for the
               producing Party to produce the unredacted portion of the content.

D.      Email Collection and Processing:

        1.     Email Threading: Email threads are email communications that contain prior or
               lesser included email communications. A most inclusive email thread is one that
               contains all of the prior or lesser included emails and attachments including each
               branch of the email thread. A producing Party may use email thread suppression
               to exclude email from production, provided however, that an email that includes
               an attachment or content in the BCC or other blind copy field shall not be treated
               as a lesser included version of an email that does not include the attachment or
               content, even if all remaining content in the email is identical. The Parties may
               use email thread suppression to avoid review and production of information
               contained within an existing email thread in another document being reviewed and
               produced, but under no circumstances will email thread suppression eliminate (a)
               the ability of a requesting Party to identify every custodian who had a copy of a
               produced document or email, or (b) remove from a production any unique
               branches and/or attachments contained within an email thread. If the sender,
               recipient(s) (including any ccs or bees), and date information on suppressed
               threads is unreadable in the produced inclusive thread, the producing Party shall
               provide a .csv or .xls file containing the metadata for the suppressed threads to the
               extent that the suppressed threads are within the scope of the collection and/or
               custodians.

E.      De-Duplication: To the extent consistent with the below subparts, the producing Party
        need only produce a single copy of a particular electronic document.

         1.     Vertical De-Duplication. A producing Party may de-duplicate ESI vertically by
                custodian, provided however, that an email that includes content in the BCC or
                other blind copy field shall not be treated as a duplicate of an email that does not
                include identical content in the BCC or other blind copy field, even if all
                remaining content in the email is identical.

         2.     Horizontal De-Duplication. A producing Party may de-duplicate ESI
                horizontally (globally) across the population of records, and provided further
                that: (a) an email that includes content in the BCC or other blind copy field shall
                not be treated as a duplicate of an email that does not include content in the BCC
                or other blind copy field, even if all remaining content in the email is identical;
                and (b) all custodians who were in possession of a de-duplicated document must

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                 be identified.

         3.      Duplicate electronic documents shall be identified by a commercially accepted
                 industry standard (e.g., MD5 or SHA-1 hash values) for binary file content. All
                 electronic documents bearing an identical value are a duplicate group. The
                 producing Party shall use reasonable efforts to produce only one document image
                 or native file for duplicate ESI documents within the duplicate group to the extent
                 practicable. The producing Party is not obligated to extract or produce entirely
                 duplicate ESI documents.

         4.      Duplicate messaging files shall be identified by a commercially accepted
                 industry standard (e.g., MD5 hash values) for the email family, which includes
                 the parent and email attachments. Duplicate messaging materials will be
                 identified at a family level, including message and attachments. Email families
                 bearing an identical value are considered a duplicate group. The producing Party
                 shall use reasonable efforts to produce only one document image or native file
                 for duplicate emails within the duplicate group to the extent practicable.

F.      Zero-byte Files: The Parties may, but are not required to, filter out stand-alone files
        identified as zero-bytes in size that do not contain responsive file links or file names. If
        the requesting Party in good faith believes that a zero-byte file was withheld from
        production and contains information responsive to a request for production, the requesting
        Party may request that the producing Party produce the zero-byte file. The requesting
        Party may provide a Bates number to the producing Party of any document that suggests
        a zero-byte file was withheld from production and contains information responsive to a
        request for production.

G.      Hidden Text: ESI items shall be processed, to the extent practicable, in a manner that
        preserves hidden columns or rows or worksheets.

H.      Embedded Objects: The parties agree that if a particular produced record contains an
        embedded object that is not readable in embedded format, the party receiving the record
        reserves the right to request production of the embedded object as a stand-alone record.
I.      Compressed Files: Compression file types (i.e., .CAB, .GZ, .TAR, .z, .RAR, and .ZIP)
        shall be decompressed in a reiterative manner to ensure that a zip within a zip is
        decompressed into the lowest possible compression resulting in individual folders and/or
        files.

J.      Password-Protected, Encrypted, or Proprietary Software Files: If the requesting party
        believes that non-duplicative information cannot be reviewed because a document that
        has been produced by a party is password-protected or encrypted, the requesting party
        may request that the producing party take reasonable efforts to identify the password for
        the ESI item or unencrypt the ESI item so that it can be reviewed. If proprietary software
        is necessary to view the ESI, the Parties shall meet and confer regarding the next steps, if
        any, with respect to such ESI.



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V.      PRODUCTION OF PRIVILEGE LOGS.

         1.   Except as provided below, for any Document redacted or withheld in its entirety,
              the producing Party shall produce privilege logs in MS Excel format or any other
              agreed-upon format that permits electronic sorting and searching.

         2.   Exclusions from Logging Potentially Privileged Documents: Pursuant to the
              following sections (a) and (b), documents need not be reflected in a producing
              Party’s privilege log, unless good cause exists to require that a Party do so or the
              Parties otherwise agree:

              (a)    Communications or work product after January 8, 2021, exclusively
                     between a producing Party and its corporate in-house counsel (including
                     consultants) regarding this litigation.

              (b)    Communications or work product after January 8, 2021, exclusively
                     between a producing Party, including its in-house counsel (including
                     consultants), and its outside counsel. This provision is not intended to
                     expand or contract the ability of a party to assert a claim of privilege. Each
                     party will provide all other parties with a list of outside counsel at the time
                     of producing a privilege log.

              (c)    Attorney-client privileged communications or work product of a party
                     dated after the filing of the above-captioned litigation as to that party.
                     Each party utilizing this exclusion will provide a list of all senders or
                     recipients of communications that are not logged at the time of producing
                     a privilege log.


         3.   Privilege Log Requirements: Consistent with Fed. R. Civ. P. 26(b) and the
              Local Rules, and unless otherwise agreed by the Parties or Ordered by the Court,
              Privilege Logs shall contain the following information for each Document
              withheld or redacted on grounds other than those specified in ¶ II.L.1(1)-(2)
              above:

              (a)    a sequential number associated with each privilege log record;

              (b)    the date of the Document or ESI (if any);

              (c)    the Bates number of the Documents or ESI redacted;

              (d)    for the latest in time communication in any thread, the identity of persons
                     who sent (and, if a document, the identity of the author of) the Document
                     or ESI and, if a communication, the addressees, recipients, copyees, and
                     blind copyees (with senders, authors, addressees/recipients, copyees, and
                     blind copyees, each separately identified by those categories as
                     applicable);


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                (e)     the subject line of a communication or title of a document unless the
                        subject line or title reveal privileged information in which case a
                        description of the communication or documents may be used, although the
                        parties reserve all rights to challenge redaction of subject lines or the
                        sufficiency of a description if used in lieu of subject line;

                (f)     the type or nature of the privilege or immunity asserted (i.e., attorney-client
                        privilege or work-product doctrine); and

                (g)     an indication of whether the Document has been redacted or withheld in its
                        entirety.

                (h)     Where available for any category specified in ¶ V.3, objective metadata
                        may be used to populate the values on a producing Party’s Privilege Log,
                        as long as such metadata is reasonably comprehensible.

         4.      Challenges to Privilege Claims: Should a receiving Party, in good faith, have
                 reason to believe a particular entry or category of entries on a Privilege Log or
                 its associated Document does not reflect privileged information, or that the entry
                 does not provide sufficient information to assess any such claim of privilege, the
                 receiving Party may request additional information, and the producing Party will
                 not unreasonably refuse to provide more information about the basis of the
                 asserted privilege in compliance with Fed. Rule Civ. P. 26(b). Should a receiving
                 Party, in good faith, have reason to believe a particular redaction or withheld
                 Document is responsive and does not reflect privileged or protected discoverable
                 information after the producing Party has provided the additional information,
                 the requesting Party shall provide (i) the producing Party with its justification for
                 believing the redaction or withheld Document may be responsive and not
                 privileged or protected, and (ii) the producing Party an opportunity to re-consider
                 its assertion of privilege or protection on the redaction or Document. The Parties
                 shall meet and confer to try to reach a mutually agreeable solution. If they cannot
                 agree, the matter may be brought to the Court. The requesting Party shall not
                 challenge the producing Party’s privilege log or any individual entries thereon
                 without following the procedures set forth in this protocol, unless based solely
                 on material non-compliance with this ESI Protocol. The withdrawal of an
                 asserted privilege or protection following a challenge and subsequent meet and
                 confer shall not be a basis to challenge other Documents included in the privilege
                 log, except for duplicate documents.

VI.     MISCELLANEOUS PROVISIONS

A.      Inaccessible ESI: If a producing Party asserts that certain categories of ESI that are
        reasonably likely to contain responsive information are inaccessible, or if the requesting
        Party asserts that, following production, certain ESI is not reasonably usable, the Parties
        shall meet and confer to discuss resolving such assertions. If the Parties cannot resolve
        any such disputes after such a meet and confer has taken place, the issue shall be presented

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        to the Court for resolution.

B.      Variations or Modifications: Variations from this ESI Protocol may be required. Any
        practice or procedure set forth herein may be varied by agreement of the parties, which
        will be confirmed in writing. In the event a producing Party determines that a variation or
        modification is appropriate or necessary to facilitate the timely and economical production
        of documents or ESI, the producing Party will notify the requesting Party of the variation
        or modification. Upon request by the requesting Party, the Parties will meet and confer to
        address any issues in a reasonable and timely manner prior to seeking Court intervention.


IT IS SO ORDERED.

                                                      ___________________________
                                                      HON. MOXILA A. UPADHYAYA
                                                      United States Magistrate Judge
DATE:      September 16, 2024




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        Appendix 1: ESI Metadata and Coding Fields

            Field Name1           Field Description

         BegBates             Control Numbers.
         EndBates             Control Numbers.
         BegAttach            Control Numbers (First production Bates number of the first
                              document of the family).
        EndAttach             Control Numbers (Last production Bates number of the last
                              document of the family).
        Custodian             Custodian name ( ex. John Doe).
        AllCustodians         Inclusive of the “Custodian” field value for any given document
                              in a native upload
        FilePath              The directory structure of the original file(s). Any container
                              name is included in the path.
        FileName              File name of the edoc or email.
        NativeFile            Native File Link.
        EmailSubject          Subject line of email.
        DateSent              Date email was sent.
        TimeSent              Time email was sent.
        To / Recipients       All recipients that were included on the “To” line of the email.
        From                  The name and email address of the sender of the email.
        CC                    All recipients that were included on the “CC” line of the email.
        BCC                   All recipients that were included on the “BCC” line of the email.
        DateCreated           Date the document was created.
        DateLast Modified     Date the document was last modified
        Title                 Any value populated in the Title field of the document
                              properties.
        Subject               Any value populated in the Subject field of the document
                              properties.
        Author                Any value populated in the Author field of the document
                              properties.
        TextPath              Relative path to the document level text file.
        Legend /              Indicates if document has been designated as Confidential
        Confidentiality       Discovery Material under the Protective Order.
        Time Zone             Time zone the metadata was processed in. Each party will use
                              its own method with respect to this field and will advise the other
                              parties as to its method.
        Hash                  Hash value (used for deduplication or other processing) (e-mail
                              hash values must be run with the e-mail and all of its
                              attachments)

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  Field Names can vary from system to system and even between different versions of systems. Thus,
Parties are to be guided by these Field Names and Descriptions when identifying the metadata fields to be
produced for a given document pursuant to this ESI Protocol.

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